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 DEFENDANT:          JONATHAN K. YIOULOS

 YOB:                1989

 COMPLAINT           ______ Yes      ____x___ No
 FILED?
                     If Yes, MAGISTRATE CASE NUMBER_____________

 HAS DEFENDANT BEEN ARRESTED ON COMPLAINT? _ __ Yes                        ___x____ No
 If No, a new warrant is required

 OFFENSE(S):         Count 1: 18 U.S.C. § 1349 (Conspiracy to Commit Wire Fraud)

                     Counts 2-40: 18 U.S.C. § 1343 (Wire Fraud)


 LOCATION OF         Denver County, Colorado
 OFFENSE:

 PENALTY:            Count 1: 18 U.S.C. § 1349
                     NMT 20 years’ imprisonment; NMT a $250,000 fine or two times gain
                     or loss, whichever is greater, or both imprisonment and a fine; NMT
                     3 years’ supervised release; $100 special assessment fee.


                     Counts 2-40: 18 U.S.C. § 1343
                     For each count: NMT 20 years’ imprisonment, NMT a $250,000 fine
                     or two times gain or loss, whichever is greater, or both imprisonment
                     and a fine; NMT 3 years’ supervised release; $100 special
                     assessment fee.

 AGENT:              IRS-CI SA Lisa Palmer
                     FBI SA Sarah Anderson


 AUTHORIZED          Assistant U.S. Attorney Hetal J. Doshi
 BY:                 Assistant U.S. Attorney Matthew T. Kirsch

 ESTIMATED TIME OF TRIAL:

     five days or less      ___X_ over five days              ____ other




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 THE GOVERNMENT

        will seek detention in this case based on 18 U.S.C. § 3142(f)(2)

 _x_____ will not seek detention

 The statutory presumption of detention is not applicable to this defendant.




                                             2
